
Pearson, C. J.
The complainants executed the note under *163a mistake in regard to a matter of law, into which they were led by confiding in the opinion of Samuel Black, Esq., who was acting as clerk and agent of the defendant.
We had at first some difficulty, because the complainants had notice of the words used in the note, and the mistake was in regard to the legal effect of the words used. But McKay v. Simpson, 6 Ire. Eq., 452, settles the question. It is t.h'ere held: “Where an instrument is intended to carry an agreement into execution, but, by reason of a mistake, ■either of fact or of lato, does not fulfil that intention, equity ■corrects the mistake.
Per Curiam.
Decree for complainants.
